            EXHIBIT 3




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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

  (1) JOHN MASHBURN,                              )
                                                  )
                 Plaintiff,                       )
                                                  )
  vs.                                             )         Case No. 17-cv-337-TCK-mjx
                                                  )
  (1) WAL-MART STORES, INC.,                      )
  a foreign for profit company licensed           )
  to do business in Oklahoma,                     )
                                                  )
                 Defendant.                       )

                                            COMPLAINT

         Comes now the Plaintiff, John Mashburn, and he does bring this action against the

  Defendant, Wal-Mart Stores, Inc., a foreign for profit company licensed to do business in Oklahoma,

  for claims of disability discrimination and age discrimination in violation of Title VII of the Civil

  Rights Act, as amended, and the Americans with Disabilities Act, as amended. In support of these

  claims, Plaintiff would state the following:

                                                 PARTIES

  1.     John Mashburn, a Caucasian male over the age of 40, is the Plaintiff herein. He resides in

         Tulsa, Tulsa County, State of Oklahoma.

  2.     Wal-Mart Stores, Inc. is a foreign for profit corporation, licensed to do business in

         Oklahoma, and has a place of business at 220 OK-97, Sand Springs, Tulsa County,

         Oklahoma.

                                   JURISDICTION AND VENUE

  3.     Jurisdiction is proper in this court pursuant to the Civil Rights Act of 1964, as amended, and



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        the Americans with Disabilities Act, as amended,

  4.    All actions alleged herein occurred within TULSA County, Oklahoma.

  5.    Venue is proper in this court pursuant to 12 O.S. §131.

  6.    Plaintiff received his Right to Sue letter from the U.S. Equal Employment Opportunity

        Commission on or about April 15, 2017.

                                             FACTS

  7.    John Mashburn (“Mashburn”) was employed full-time by Wal-Mart Stores, Inc. on January

        4, 1995 as a cart retriever at the Wal-Mart store at Admiral and Memorial in Tulsa.

  8.    Mashburn, during his career at the Admiral and Memorial Wal-Mart store, began stocking

        shelves and stocking returns and doing zoning (periodically inspecting shelves to ensure

        products were facing outward appropriately).

  9.    In 2015, the Admiral and Memorial Wal-Mart store was closed for renovations, after

        Mashburn had been working there for twenty (20) years, and Mashburn was laid off for

        approximately thirty (30) days.

  10.   After this layoff, on May 26, 2015, he was sent to work at the Sand Springs Wal-Mart store

        doing the same tasks he had been doing at the Admiral and Memorial Wal-Mart store.

  11.   Mashburn is a disabled adult with an IQ of approximately 61. While his chronological age

        is 58, his adaptive age is approximately 10 years, 9 months overall. He cannot drive and he

        cannot read.

  12.   While at the Sand Springs Wal-Mart store, despite always having been employed full-time,

        Mashburn’s hours were often reduced to less than forty (40) hours a week, sometimes as low

        as twelve (12) hours a week. Each time Mashburn complained about this, with the assistance


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        of a family member, the hours were generally increased again, although not always back to

        a full forty (40) hours a week.

  13.   In approximately June 2016, Mashburn was asked to start building and setting up product

        displays in the store. Mashburn had difficulty doing this task because he could not read and

        he repeatedly told his managers/supervisors he could not read. Mashburn did the best he

        could with this task, even though he had no training and could not read the instructions

        which accompanied the displays.

  14.   In approximately November 2016, Sand Springs Wal-Mart began scheduling Mashburn to

        work on Sundays. Previously Mashburn had always worked a schedule of Monday through

        Friday in order to allow him to utilize the Lift Transportation system (the “Lift”) offered by

        the Metropolitan Tulsa Transit Authority for disabled adults. The Lift does not provide

        transportation to disabled adults on Sundays.

  15.   Mashburn and a family member advised Sand Springs Wal-Mart that the schedule requiring

        him to work on Sundays was a problem because Mashburn did not have transportation to or

        from work. Sand Springs Wal-Mart continued to require Mashburn to work on Sundays

        through the end of 2016.

  16.   On February 26, 2017, Mashburn was asked to scan certain products thus recording a lower

        price for these items. Mashburn had a very difficult time with this task because he could not

        read. At one point he became very frustrated and verbally expressed his frustration with this

        task.

  17.   After Mashburn became upset with the task of scanning on February 26, 2017, he was called

        into a female manager’s office, along with John from maintenance, and they told him he


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         could not get upset and frustrated verbally over using the scanner. Mashburn then returned

         to his other tasks at work.

  18.    Later on February 26, 2017, Mashburn was called into the same female manager’s office,

         along with Brian, the assistant store manager, and the female manager told Mashburn, “It just

         ain’t working out.” Brian then told him other managers were having to fix his displays

         because Mashburn was not doing them correctly and it was costing Wal-Mart time and

         money to have them spend their time fixing these displays.

  19.    Mashburn was fired during this meeting.

  20.    No one had ever complained to Mashburn about the displays prior to this meeting.

  21.    During this meeting, Mashburn asked if he could go to another department to work and the

         female manager said, “Nope.”

  22.    Mashburn was paid $15.21 per hour while working for Wal-Mart.

                           FIRST CAUSE OF ACTION
          DISABILITY DISCRIMINATION - TERMINATION OF EMPLOYMENT


         Mashburn realleges and incorporates herein the allegations contained in paragraphs 1

  through 22 herein.

  23.    Mashburn is a mentally disabled individual with a disability which qualified as a disability

         within the meaning of the ADA.

  24.    Mashburn was qualified to perform the essential job functions of his job with or without

         reasonable accommodation.

  25.    Mashburn was terminated from his position with Wal-Mart allegedly because he could not

         perform the two new tasks given to him - scanning and building displays.


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  26.    No one at Wal-Mart attempted to reasonably accommodate Mashburn’s disability and

         remove these two tasks which he could not perform as a result of his disability.

  27.    As a result of Wal-Mart’s failure to accommodate Mashburn and his resulting termination

         of employment, he was discriminated against on the basis of his disability by Wal-Mart.

  28.    As a result of this disability discrimination, Mashburn has lost income and benefits, incurred

         legal fees and expenses, and suffered humiliation and degradation.

         WHEREFORE, Mashburn prays for damages in excess of $10,000 and such other equitable

  relief as this Court may deem appropriate.


                                                                Respectfully submitted,

                                                                ______________________________
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